                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT GREENEVILLE

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      No.:   2:09-CR-031
                                                 )
MARTINA YEARY                                    )

                           MEMORANDUM AND ORDER

         This criminal case is before the court on the defendant’s pro se motion for

sentence reduction [doc. 1284]. The defendant asks the court to resentence her pursuant

to 18 U.S.C. § 3582(c)(2) and in accordance with Amendments 782 and 788 to the United

States Sentencing Guidelines Manual (“U.S.S.G.” or “sentencing guidelines”).

Amendment 782, which became effective on November 1, 2014, revised the guidelines

applicable to drug-trafficking offenses by reducing the offense levels assigned to the drug

and chemical quantities described in guidelines 2D1.1 and 2D1.11. See U.S. Sentencing

Guidelines Manual app. C, amend. 782 (2014). Amendment 788, which also became

effective on November 1, 2014, identified Amendment 782 as retroactive.           See id.,

amend. 788.

         The United States has responded in opposition to the defendant’s motion [doc.

1293].     The United States argues that the defendant is not eligible for a sentence

reduction because Amendment 782 has no effect on her statutorily-mandated term of

imprisonment.




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I.       Background

         By judgment dated July 28, 2010, this court sentenced the defendant to a term of

imprisonment of 120 months as to Count One (conspiracy to distribute and possess with

the intent to distribute cocaine base). The defendant’s advisory guideline range was 168

to 210 months, based on a total offense level of 31 and a criminal history category of V.

By statute, Count One required a mandatory sentence of at least 120 months’

imprisonment.

         Prior to sentencing, the United States filed a motion for downward departure

pursuant to U.S.S.G. § 5K1.1. The court granted the motion and departed downward to

120 months - the lowest available sentence under the defendant’s statute of conviction.

II.      Analysis

         District courts have discretion to reduce the sentence “of a defendant who has

been sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission . . . , if such a reduction is

consistent with applicable policy statements issued by the Sentencing Commission.” 18

U.S.C. § 3582(c)(2). In the present case, a sentence reduction under § 3582(c) would not

be consistent with the Sentencing Commission’s applicable policy statements.

Application Note 1(A) to guideline 1B1.10 explains in relevant part that

         a reduction in the defendant’s term of imprisonment is not authorized under
         18 U.S.C. § 3582(c)(2) and is not consistent with this policy statement if . .
         . [a guideline amendment] is applicable to the defendant but the amendment
         does not have the effect of lowering the defendant’s applicable guideline
         range because of the operation of another guideline or statutory provision
         (e.g., a statutory mandatory minimum term of imprisonment).
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       Presuming, without deciding, that Amendment 782 would lower the defendant’s

advisory guideline range, the fact remains that Amendment 782 does not lower any

statutory penalties. The court is genuinely pleased with the rehabilitative efforts cited in

the defendant’s motion. However, that does not change the fact that she has already

received the lowest available sentence under her statute of conviction. The defendant is

therefore not entitled to Amendment 782 relief.

III.   Conclusion

       For the reasons stated herein, the defendant’s motion for sentence reduction [doc.

1284] is DENIED.

              IT IS SO ORDERED.

                                                        ENTER:



                                                               s/ Leon Jordan
                                                         United States District Judge




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